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Attorneys for Plaintiffs




                              UNITED STATES DISTRICT COURT

                                   DISTRICT OF OREGON



KELSEY CASCADIA ROSE JULIANA;                   Case No.: 6:15-cv-01517-TC
XIUHTEZCATL TONATIUH M., through his
Guardian Tamara Roske-Martinez; et al.,
                Plaintiffs,                     DECLARATION OF DR. STEVEN W.
                                                RUNNING in Support of Plaintiffs’
v.                                              Response in Opposition to Defendants’
                                                Motion for Summary Judgment
The UNITED STATES OF AMERICA;
DONALD TRUMP, in his official capacity as
President of the United States; et al.,
                Defendants.




Declaration of Dr. Steven W. Running in Support of Plaintiffs’ Response in Opposition to
Defendants’ Motion for Summary Judgment
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   I, Dr. Steven W. Running, hereby declare and if called upon would testify as follows:

1. I have been retained as an expert on behalf of Plaintiffs in this matter.

2. I have prepared an expert report for this litigation (“Expert Report”), a true and correct copy of

   which is attached hereto as Exhibit 1. My Expert Report is signed by me. A copy of my Expert

   Report was served on Defendants on April 6, 2018.

3. My Expert Report contains:

       a. a complete statement of all opinions I will express at trial and the basis and reasons for these

             opinions;

       b. the facts or data considered by me in forming my opinions;

       c. any exhibits that I currently plan to use to summarize or support my opinions;

       d. my qualifications, including a list of all publications authored by me in the previous 10 years;

       e. a list of all other cases in which, during the previous 4 years, I testified as an expert at trial or

             by deposition, if any; and

       f. a statement of the compensation to be paid for the study and testimony in the case.

4. If called to testify in this matter, I would provide testimony as described in the attached Expert

   Report.

       In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.

       DATED this ____ day of June, 2018.

                                                       Respectfully submitted,




                                                       Dr. Steven W. Running


Declaration of Dr. Steven W. Running in Support of Plaintiffs’ Response in Opposition to                      2	
Defendants’ Motion for Summary Judgment
